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("ncn ')'Fi]
v.,“_,e, ._ v

 

1. ciRJotsTJotv. Com:
TNW

z. ransom REPRESENTED
Edwards, Sheldrick

 

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page l n 1 (Y|
voUCHER NUMBER

 

 

3. MAG. DKT.,'DEF. NUMBER 4. DlST. DKT./'DEF. NUMBER

2:03-020316-001

5. APPEALS I)KT.."DEF. NUMBER 6. OTHER DKT. NUMBER

 

'.'. lN CASEMATTER OF (Case Name) S. PAYMEN T CATE[DRY

 

9. TYPE PERSON REPRESENTED l[l. REPRESENTATION TYPE

(See ln.rtrnc|ions)

 

U.S. v. Edwards Felony

 

Aduit Defendant Appeai of Other Matters

 

ll. OFFENSE(S) Cl'l ARCED (Cite U.S. Code, Tille & Sectinn)

if more thin one offense, list (up to i'ive) major offenses chlrged, according tn severity of offense

l) 21 84iA=ND.F -- NARCOTiCS - SELL, DISTRIBU'I`E, OR DISPENSE

 

Schoii, Michaei E

8 South Third St

4tit Fioor

Memphis TN 38103

Telephone Number:
14. N AME AND MAlLINC ADDRESS OF LAW FIRM (only provide per instructions)

 

 

 

 

 

     

i___i F Subs For Fedrrainefender
i:l P Sulis For Panel Atiorliey

Prior Aitcn'ney‘s Name:

ij il S\ibs i'~`or Reto|ned Altorney
i:l Y StandbyCounsei '__`

 

Appointment Date: __________________
i:i Beeause the above-named person represented has testified under .

n l 4

c l t l eror By Orderoithe Couri

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

representation? NO ll'yee, give details on additional sheets.
l swear or affirm tile truth or correctness of the above liaiemellts.

pjte ni' Order Nune Pro Tnnc Date /J)
Re mem or partial repayment ordered from the person represented for this x ervtce at
time nnppoimmmt_ ij YES L:| NO

CATEGORIES (Attach itemization of services with dates) CM"ESD SYO:£§B HQI;U:IS';¥FREI';?JH Wé§§l::l§§)" AH[E)WE%]§AL
15. a. Arraignment and."or Plea

b. Bali and Detention Hearings

c. Motion Hearings
:1 d. Trial
C e. Sentencing Hearings
3 f. Revoeation Hearings
§ g. Appeals Court

h. Olher (S[Jecify on additional sheets)

(Rate per hour =' 5 ) TOTALS:
16. a. Intervlews and Conl'erences
g b. Obtainlng and reviewing records
0 c. Legal research and brief writing
; d. Travel lime
§ e. lnvestigativ e and Other work (Speeify nn additional sheets)
{ (Rate per hour -= $ ) TOTALS:
iT. Travel Expenses (lodgin¢, pnrldng, meals, mileage, ete.)
lB. Other Expenses (other than expert, transcripu, etc.)
19. CERT!FICATION OF A'I'TORNEY."PAYEE FOR THE PER[()D 0 F SERVICE 20. APPO[NTMENT TER.M|NATION DATE Zl. CASE DlSPOSlTION
FROM m ii-‘ OTHER THA.N CASE coMPLl-:TloN

22. CLAIM STATUS ij Finnl Plyment i:l interim Pnymem Number |:| Supplemental Payment

H|.ve you previoull)l applied 10 the WilFt ffr compensation lnd.'or remimhurl¢ment Inr this case'.’
Other than from the eourt. have you, or toy-our knowledge ha anyone elle, received payment [compenletion nr anything or vllue) from my other source in connection with this

l:i YES lfyes. were you paid'.’ i:l YES i:] NO

 

Si nature ui’A\torne '

   
  

. lN COUR'I` COMP. 24. OUT OF COURT COMP. 25. 'I`R.AV'EL E

     
 

 

XPENSES 26. OTHER EXI'ENSES 21. TOTAL AMT. APPR/CI~:RT

 

18. SlGNATURE OF THE PRES]D|NG JUD|C|AL OFFICER

DATE IBa. JUDGE l MAG. JUDGE CODE

 

29. lN COURT COMP. JD. OUT OF COURT COMP, 31.

 

 

TRAVEL EXPENSES

32. OTHER EXPENSES 33. TOTALAMT.AFPROVED`

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34. SlGNATURE OF CHIEF JUDCE, COURT OF Al’P EALS (OR DELEGATE) Paym¢nt DATE 34a. JUDGE CODE
approved in excess otthe statutory threshold amount l
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l ment_enm°d'°n the docket she -
. w th Fiuie 55'énd/or 32(1;) - a

FHcr`P en __

 

 

ice
12. ATTORNEY'S NAME g"SirilNlme, M.I., LlstNlme, including any lufflx) lJ. COURT ORDER ‘€:,
AND MA|LING ADDRE 0 Appolnilng Counsel m C Co-Cnunsei "

 
 
 
 
 
        
   

     
   

   
 

    

UNITED `sETATs DISTRIC COURT - WE"RNTE D's'TRCT oFTENNEssEE

   
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 105 in
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Honorabie Bernice Donald
US DISTRICT COURT

